











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





LILIA BELTRAN,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


RAYMUNDO BELTRAN, JR. and
JULIAN BELTRAN,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.

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No. 08-08-00002-CV

Appeal from the

65th Judicial District Court

of El Paso County, Texas 

(TC# 2004CM4522) 





O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Lilia Beltran appeals an order granting a declaratory judgment in favor of her former
brother-in-law Julian Beltran regarding Julian’s interest in a business owned by her former
husband, Raymundo Beltran, Jr, during the marriage.  Because Ms. Beltran has been divested of
her interests in the business by an irrevocable mediated settlement agreement, the appeal is moot
and must be dismissed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Raymundo Beltran Jr. filed for divorce from Lilia Beltran in July of 2004, alleging that
the marriage had become insupportable due to discord or conflict between himself and his wife. 
On June 20, 2006, Lilia amended her original counter-petition for divorce, adding allegations of
breach of fiduciary duty, actual fraud, alter ego, fraudulent transfer, and civil conspiracy against
Raymundo, for his transfer of a 50 percent interest on Beltcon Construction, Inc., to his brother
Julian Beltran.


  In response, Julian filed a plea in intervention in the divorce, denying Lilia’s
allegations and requesting a declaratory judgment stating that he owns 50 percent of Beltcon
Construction, and that Raymundo created an express trust in 1986, holding 50 percent of the
corporation stock for Julian’s benefit until 1999, when Julian received legal title.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the interim, Raymundo and Lilia had successfully mediated a divorce settlement,
including issues of property division, and care and custody of the couple’s only minor child.  The
Mediated Settlement Agreement signed by both parties and their attorneys was filed on July 16,
2007.  The agreement specified that Raymundo was to receive 100 percent ownership of the
business entities known as; Beltcon Construction, Inc., Beltran Precast, Inc., Beltran Properties,
Inc., and Beltran Investment Club.  Lilia agreed to be divested of any community or separate
property interest she had in the businesses.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court entered an order granting Julian’s plea and entered a declaratory judgment
on August 15, 2007.  The declaratory judgment stated:
The Court finds that Raymundo Beltran, Jr. held legal title to all shares of Beltcon
Construction, Inc. between 1991 and 1999.  The Court further finds that between
1991 and 1999 Raymundo Beltran, Jr. held 50% of his shares in trust for the
benefit of Intervenor Julian Beltran as a result of his creation of a constructive or
equitable trust.  The Court finds that as of 1991, as a result of the creation of a 
trust by Raymundo Beltran, Jr., Beltcon Construction, Inc. has been owned 50%
by Raymundo Beltran, Jr. and 50% by Julian Beltran.
&nbsp;
The Court further finds that Raymundo Beltran, Jr. did not transfer shares
of Beltcon Construction, Inc. to Julian Beltran with the intent to defraud the
community estate of Raymundo Beltran, Jr. and Lilia Beltran; that neither
Raymundo Beltran, Jr. nor Julian Beltran intended to conspire to defraud the
community estate of Raymundo Beltran, Jr. and Lilia Beltran by the transfer of
shares of Beltcon Construction, Inc. to Julian Beltran; and that Beltcon
Construction, Inc. is not the alter ego of Raymundo Beltran, Jr.
&nbsp;
It is accordingly ORDERED, ADJUDGED, and DECLARED that
JULIAN BELTRAN is presently the owner of 50% of the shares of Beltcon
Construction, Inc. and has been the owner of 50% of the shares of Beltcon
Construction, Inc. since the date of corporate inception in 1991.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In an additional paragraph added to the end of the judgment, the court added a notation
stating that the declaratory judgment disposed of the issues and causes of action contained in
Lilia’s counter-petitions pertaining to her allegation of fraud, breach of fiduciary duty, civil
conspiracy, fraudulent transfer, and alter-ego.  Counsels for both Lilia and Julian initialed this
additional paragraph.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court entered the Final Decree of Divorce on December 7, 2007.  The decree
incorporated the terms of the mediated settlement agreement, and stated that Lilia’s other causes
of action were disposed of in the court’s declaratory judgment order.  Lilia filed a notice of
appeal to this Court on January 7, 2008, for review of the trial court’s order granting Julian’s plea
in intervention and declaratory judgment.  Lilia presents four issues for review, arguing the trial
court’s declaratory judgment was entered erroneously on several grounds.  She requests that this
Court reverse the declaratory judgment and intervention orders and vacate the court’s final
judgment.  Raymundo has filed a motion to dismiss the appeal for lack of jurisdiction, arguing
Lilia’s appellate issues were rendered moot by the settlement agreement and final divorce decree. 
As it is the dispositive issue, we begin with the mootness issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Courts do not have authority to provide advisory opinions, or to decide cases on
hypothetical or contingent facts.  See Gen. Land Office of Tex. v. OXY U.S.A., Inc., 789 S.W.2d
569, 570 (Tex. 1990).  The mootness doctrine precludes a court from rendering an advisory
opinion.  Camarena v. Tex. Employment Comm’n, 754 S.W.2d 149, 151 (Tex. 1988).  A case is
rendered moot when:  (1) it appears that a party seeks to obtain a judgment upon some
controversy, when in reality none exists; or (2) a party seeks a judgment upon some matter which
cannot have a practical legal effect upon a then existing controversy.  See Pope v. City of Dallas,
636 S.W.2d 244, 247 (Tex.App.--El Paso 1982, no writ).  That is to say, when an actual
controversy no longer exists between the parties, “the decision of an appellate court would be a
mere academic exercise.”  Hanna v. Godwin, 876 S.W.2d 454, 457 (Tex.App.--El Paso 1994, no
writ).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record establishes that Lilia entered into a mediated settlement agreement whereby
Raymundo was given 100 percent right, title, and ownership of the community estate’s interest in
Beltcon Construction.  The agreement expressly divested Lilia of any interest she had in the
business.  Likewise, Raymundo assumed 100 percent of any debt associated with Beltcon.  The
agreement was signed by both Raymundo and Lilia, as well as each party’s attorney on July 14,
2007, and filed of record in the divorce on July 16, 2007.  The divorce decree incorporated the
terms of the settlement by awarding Raymundo the community estate’s interest in Beltcon, and
divesting Lilia’s interest in the same.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Lilia does not argue that the settlement agreement itself, nor the decree in which it is
incorporated, is invalid or void on any other issue.  Nor does she specify how her alleged injury,
harm to the community property estate, continues to constitute a “live” controversy despite the
fact that she was divested of her interests by agreement.  She simply contends that because
neither she nor her attorney approved the substance of the decree, she has maintained the right to
pursue her causes of action.  In essence, Lilia argues she is not bound by that portion of the
agreement or the decree that divests her of her interest in Beltcon.  We disagree.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Texas Family Code section 6.602 states the requirements for a binding mediated
settlement agreement in a divorce proceeding.  Such an agreement must prominently state that
the agreement is not subject to revocation, it must be signed by each party to it, and it must be
signed by the parties’ attorneys if the attorneys are present at the time the agreement is signed. 
Tex.Fam.Code Ann. § 6.602(b)(Vernon 2006).  The agreement in this case meets the statutory
criteria and was not subject to revocation, in whole or in part, by Lilia.  See Brooks v. Brooks,
257 S.W.3d 418, 422 (Tex.App.--Fort Worth 2008, pet. denied).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following the settlement and entry of the decree, Lilia no longer had an interest in
Beltcon which was, or could be, injured by Raymundo and Julian’s actions.  As this Court has
stated before, “it is a fundamental principle of appellate review that a party on appeal may not
complain of errors that do not injuriously affect him or that merely affect the rights of others.”
Hanna, 876 S.W.2d at 457.  Because any decision this Court might issue regarding Raymundo
and Julian’s actions surrounding the transfer of Beltcon would be purely advisory with reference
to Lilia, the case is now moot and the appeal must be dismissed.  See id. at 457-58.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee’s motion to dismiss due to mootness is therefore GRANTED, and the appeal is
dismissed.

January 20, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.


